Case 2:03-CV-02874-BBD-tmp Document 188 Filed 08/16/05 Page 1 of 2 Page|D 204

men ev v a
IN THE UNITEn sTATEs DIs'rRIcT coURT '
FoR THE wEsTERN nIsTRIc'r oF TENNESSEE 95 gus '6 125
wEsTERN DIvIsIoN 3
mms H 66qu
CLEHK us oench
W/D GF {:\;1 F»€EMPH;S
LUTRICIA BARNETT BUCKLEY,
et al.,

Plaintiffs,
vs. Civ. No. 03-2§74-D[P
CITY OF MEMPHIS, et al.,

Defendants.

h_d\_¢\_¢~_¢`.n\.¢\.d\./\_d\_¢v'~.d

 

ORDER DENYING AS MOOT DEFENDANT CITY OF MEMPHIS' MOTION
FOR PROTECTIVE ORDER

 

Before the court is defendant City of Memphis' Motion for
Protective Order, filed July 28, 2005 (dkt #180). On August ll,
2005, the plaintiff filed her response, stating that although she
believes she is entitled to depose City of Memphis Mayor, Dr.
Willie Herenton, she wishes at this time to withdraw the deposition

notice. Therefore, the motion for protective order is DENIED as

fmb ’\GL+\,-

TU M. PHAM '
United States Magistrate Judge

P\\)ew< \S, w\"

Date U

moot.

IT IS SO ORDERED.

 

 

 

 

Th'!s document entered on the docket sheet ln compliance

with eula 53 and/or re(a) FecP on 5 '[K "O,Vg /ff

DITRICT OURT - WESTER DISRICT OF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 188 in
case 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Jean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

l\/lemphis7 TN 38103

Robert D. Meyers

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

l\/lemphis7 TN 38125

Amber Isom-Thompson

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

l\/lemphis7 TN 38125

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
l\/lemphis7 TN 38122--372

Buckner Wellford

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

